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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA
                                  PALM BEACH DIVISION

   UNITED STATES OF AMERICA,                          )
                                                      )
               Plaintiff,                             )     Case No. 9:21-cv-80779-AMC
                                                      )
               v.                                     )
                                                      )
   104 ANDOVER COURT LLC,                             )
   RH FUND XX, LLC,                                   )
   DAVID M. FERRIS,                                   )
   OCEAN CITY LOFTS CONDOMINIUM                       )
   ASSOCIATION, INC., and                             )
   PALM BEACH COUNTY TAX                              )
   COLLECTOR,                                         )
                                                      )
               Defendants.                            )

          STATUS REPORT AND REQUEST FOR TIME TO FILE STIPULATION

         Plaintiff United States of America hereby provides a report of the status of the case and

  requests a short extension of time to file a stipulation of dismissal.

         On November 4, 2021, the United States and Defendant 104 Andover Court LLC

  (“Andover Court”) filed a Notice of Settlement and Joint Request for Stay, informing the Court

  that the parties had settled and requesting that the Court stay the case to give the parties time to

  comply with their obligations under the settlement agreement. (Doc. 30). On November 5,

  2021, the Court entered an Order administratively closing the case without prejudice to the

  parties to file a stipulation of dismissal within thirty days of the Order. (Doc. 31).

         On November 17, 2021, the United States filed a motion in Ocean City Lofts

  Condominium Ass’n v. Murphy, Case No. 9:21-cv-81232-AMC (S.D. Fla.), seeking payment of

  the proceeds of sale of the real property at issue in the instant case from the registry of the

  Fifteenth Judicial Circuit in and for Palm Beach County, Florida. Ocean City (Doc. 8). In that

  motion, the United States noted that its settlement agreement with Andover Court required that
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  the United States be paid the surplus proceeds from the state court, after which Andover Court

  would “pay the United States an agreed sum and the United States would dismiss” the instant

  case. Id. The Court granted the motion in Ocean City on November 24, 2021. Ocean City (Doc.

  9).

         The United States filed a copy of the Court’s Order with the state court on December 1,

  2021, and has been in contact with the state court clerk’s office, but has not yet received the

  funds. Once the funds are received, Andover Court has 30 days to make the payment referenced

  in the motion, after which the case can be dismissed. Thus, insofar as the Court’s Order would

  bar the filing of a stipulation dismissing the case after December 6, 2021, the Court should allow

  additional time for the parties to complete their obligations under the settlement agreement.


                                                        DAVID A. HUBBERT
                                                        Acting Assistant Attorney General
                                                        Tax Division, U.S. Department of Justice

                                                        /s/Bradley A. Sarnell
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 6th day of December, 2021, I electronically filed the

  foregoing document with the Clerk of Court using the CM/ECF system, which will send

  notification of such filing to all ECF filers. There are no parties which require conventional

  service.


                                                /s/ Bradley A. Sarnell
                                                BRADLEY A. SARNELL
                                                Trial Attorney
                                                United States Department of Justice, Tax Division
